Case 2:23-cv-00936-AMA-CMR           Document 110         Filed 02/21/25     PageID.884       Page 1
                                            of 2




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 Attorneys for Defendant Colliers International

                        IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF UTAH


  KATE GRANT and KARMANN KASTEN,
                                                           DEFENDANT COLLIERS
  Plaintiffs,                                            INTERNATIONAL’S RULE 7.1
                                                               DISCLOSURE
  V.

  KEVIN LONG; MILLCREEK
  COMMERCIAL PROPERTIES, LLC;
  COLLIERS INTERNATIONAL; BRENT                        Civil No. 2:23-cv-00936
  SMITH; SPENCER TAYLOR; BLAKE                         Judge Ann Marie McIff Allen
  MCDOUGAL; and MARY STREET,                           Magistrate Judge Cecilia Romero

                 Defendants.


         Pursuant to the Court’s order on February 19, 2025, Defendant Colliers International

 makes this disclosure under Fed. R. Civ. P. 7.1: “Colliers International” was misnamed in

 plaintiffs’ Complaint in this action and does not exist. Colliers International Intermountain, LLC

 is a Delaware limited liability company whose principal place of business is in Salt Lake County,



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Case 2:23-cv-00936-AMA-CMR           Document 110        Filed 02/21/25      PageID.885        Page 2
                                            of 2




 Utah, and whose majority member is Colliers International Holdings (USA), Inc., a Delaware

 corporation.

        Jurisdiction in this case is not based on diversity under 28 U.S.C. § 1332(a).

        DATED: February 21, 2025.
                                              DENTON DURHAM JONES PINEGAR P.C.


                                              /s/ James Gilson
                                              James D. Gilson
                                              Andrew V. Wright
                                              David B. Nielson
                                              Attorneys for Defendant Colliers International




                                 CERTIFICATE OF SERVICE

        I hereby certify that on this 21st day of February 2025, I caused a true and correct copy of

  the foregoing to be filed via the Court’s electronic filing system, which automatically provides

  notice to counsel of record.


                                              /s/ Kim Altamriano




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